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                                 DECLARATION OF EVANS TUTT

        I, EV ANS TUTT, declare as follows:

        1.         I am forty years old, competent to testify in this matter, and do so based on personal

knowledge.

        2.         I am currently incarcerated at the Louisiana State Penitentiary (Angola) in Angola,

Louisiana. I have been incarcerated there since February 2025, and my DOC number is 752631.

        3.         I was assigned to Farm Line 15 out of Camp C shortly after I arrived at Angola in

February 2025.

        4.         I am a two-time cancer survivor. I still have imaging done regularly and need to see

specialists to make sure the cancer does not come back. Angola prescribes me Eliquis and Zyrtec,

which I go to pill call daily to take.

        5.         Angola has issued me a Heat Precaution Duty Status, but it does not take effect

until May 1st.

        6.         On April 2, 2025, I was working hard on the Farm Line harvesting collard greens

during the afternoon shift when I began to feel nauseated and dizzy. I had been sweating a lot but

at that point my sweat dried up, and I was no longer sweating. I feared I was dehydrated, so I made

a Self-Declared-Emergency to see a medical provider. I told the pusher that I had a Heat Precaution

Duty Status. A medical provider never came to assess me.

        7.         Once the Farm Line was brought inside for the day, the line pusher informed his

supervisor that medical never came out to see me. She replied that they have three hours to respond

to a Self-Declared Emergency. I was not seen by any medical provider that day .




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Signed Initials:    R, \ •

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        8.     There was no tent or shade trailer out on the Farm Line that day. In the morning

shift, they had no cups for us to drink water. In the afternoon shift, we ran out of water. They have

not handed out sunscreen on the Farm Line since I've been at Angola.

Dated this 21 st day of April, 2025.




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                                                      EVANSTUTT




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EV ANS TUTT DECLARATION
